     CASE 0:12-cr-00026-JRT-JSM          Doc. 1776   Filed 09/13/17   Page 1 of 9




                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                       Criminal No. 12-26(11) (JRT/JSM)

                                Plaintiff,
                                                MEMORANDUM OPINION
v.                                           AND ORDER GRANTING MOTION
                                                 TO REDUCE SENTENCE
STIRLING MICHAEL HEATON,

                             Defendant.

      Michael L. Cheever, Assistant United States Attorney, UNITED STATES
      ATTORNEY’S OFFICE, 600 United States Courthouse, 300 South
      Fourth Street, Minneapolis, MN 55415, for plaintiff.

      Stirling Michael Heaton, Reg. No. 16286-041, Phoenix Federal
      Correctional Institution, 37910 North 45th Avenue, Phoenix, AZ 85086, pro
      se defendant.


      Defendant Stirling Michael Heaton was originally sentenced to a term of

imprisonment of 115 months pursuant to a binding plea agreement under Fed. R. Crim. P.

11(c)(1)(C) entered into by the parties and accepted by the Court. Heaton now moves for

a sentence reduction under 18 U.S.C. § 3582(c)(2) based on Amendment 782 to the U.S.

Sentencing Guidelines Manual (“the Guidelines”), which retroactively lowers his

advisory Guidelines range from 130-162 months to 110-137 months, before factoring in

an 18-month adjustment for an undischarged state term under § 5G1.3(b)(1) of the

Guidelines. For the reasons discussed below, the Court will grant Heaton’s motion and

reduce his sentence to 98 months.




33
     CASE 0:12-cr-00026-JRT-JSM          Doc. 1776     Filed 09/13/17    Page 2 of 9




                                    BACKGROUND

       In 2012, Heaton was indicted for charges of conspiracy to commit racketeering, in

violation of 18 U.S.C. § 1962(d), in connection with his membership in the “Native Mob”

gang. (Indictment ¶¶ 3, 14, 22(v)-(x), Jan. 19, 2012, Docket No. 18.) On March 30,

2013, the parties attempted to enter a plea agreement pursuant to Fed. R. Crim. P.

11(c)(1)(C), binding the Court to sentence Heaton to 124 months’ imprisonment,

premised on a total offense level of 27, with credit for time served in state custody. (Tr.

of Sentencing Hr’g at 8-11, 15, June 8, 2016, Docket No. 1620.) The Court refused to

accept the plea agreement, finding that the plea agreement improperly applied the

Guidelines because Heaton in fact had a “total offense level of 28.” (Id. at 6, 14-15.)

The Court then determined the proper sentence for Heaton based on his Guidelines range:

the Court “start[ed] at the bottom of the guideline range” with 130 months, then increased

the sentence by 6 months for a “witness tampering issue,” then reduced by 18 months to

credit Heaton for the time served on an undischarged state sentence under § 5G1.3(b)(1),

and finally imposed a 3-month downward variance for good time Heaton would not

receive on the state term. (Id. at 14-15.) Based on these calculations, the Court found

115 months to be the “fair and reasonable sentence” and directed the parties change the

plea agreement to 115 months or to “withdraw [the plea] and go to trial.” (Id. at 15.)

       Following a recess, the parties presented an edited Rule 11(c)(1)(C) agreement,

which the government said, “corrected [the Guidelines] computations throughout” the

agreement. (Id at 16.) As part of the process of accepting the agreement, Heaton

affirmed that he understood the total offense level in the plea agreement increased from


                                           -2-
      CASE 0:12-cr-00026-JRT-JSM           Doc. 1776      Filed 09/13/17     Page 3 of 9




27 to 28, and the change resulted in a Guidelines range of 130 to 162 months, without the

§ 5G1.3 adjustment. (Id. at 18.) Thereafter, the Court accepted the plea agreement and

imposed a sentence of 115 months after an adjustment for Heaton’s related, undischarged

state term pursuant to § 5G1.3. (Id. at 21; see also Final Approved Plea Agreement at 8

n.1, May 30, 2013, Docket No. 1236 (discussing Heaton’s adjustment under § 5G1.3).)

       18 U.S.C. § 3582(c)(2) provides that a criminal sentence may be retroactively

reduced “in the case of a defendant who has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission.” In 2014, the Sentencing Commission approved Amendment 782 to the

Guidelines. U.S.S.G. Suppl. to App. C, Amend. 782 (U.S. Sentencing Comm’n 2014).

The amended Guidelines retroactively reduced the base offense level for Heaton’s drug

quantity from 26 to 24 and reduced his total offense level from 28 to 26. 1 On October 17,

2016, Heaton filed a motion to reduce his term of imprisonment based on Amendment

782 and 18 U.S.C. § 3582(c)(2).


                                       DISCUSSION

I.     ELIGIBILITY UNDER 18 U.S.C. § 3582(C)(2)

       Fed. R. Crim. P. 11(c)(1)(C) provides that a “plea agreement may specify that an

attorney for the government will . . . agree that a specific sentence . . . is the appropriate

disposition of the case.” If the Court accepts that plea agreement, the agreed upon


       1
          Heaton’s base offense level was calculated using the guideline for trafficking 100KG
but less than 400KG of marijuana equivalent, (see Presentence Investigation Report ¶¶ 211-12
(on file with the Court)), which now carries a base offense level of 24, U.S.S.G. § 2D1.1(c)(8).


                                             -3-
      CASE 0:12-cr-00026-JRT-JSM           Doc. 1776      Filed 09/13/17     Page 4 of 9




sentence “binds the court.” Id. When a defendant is sentenced pursuant to a binding

Rule 11(c)(1)(C) plea agreement, the court retains discretion to reduce the sentence under

§ 3582(c)(2) only if the “agreement expressly uses a Guidelines sentencing range to

establish the term of imprisonment, and that range is subsequently lowered by the [United

States Sentencing] Commission.” Freeman v. United States, 564 U.S. 522, 539 (2011)

(Sotomayor, J., concurring). 2 For Freeman to apply, “[t]he plea agreement must do more

than opaquely refer to concepts usually embodied in the Guidelines calculations.” United

States v. Renfrow, No. 15-3792, 2017 WL 781516, at *1 (8th Cir. Feb. 28, 2017). It must

be “evident from the agreement itself, for purposes of § 3852(c)(2) the term of

imprisonment imposed by the court in accordance with that agreement is ‘based on’” the

applicable sentencing range. Freeman, 564 U.S. at 539.

       The Court finds Heaton’s amended plea agreement meets this standard. The initial

agreement included a Guidelines calculation and an advisory Guidelines range, and

selected a sentence within that range. (Final Approved Plea Agreement at 6-9.) The

Court refused to accept the agreement, finding it incorrectly applied the Guidelines. The

parties were then given an option to revise the plea agreement to reflect the correct

Guidelines range and the sentence that the Court found was appropriate based on that

range. Accordingly, the Court finds that the amended agreement was “based on” the

       2
          Justice Sotomayor’s concurring opinion in Freeman sets forth the controlling standard
because there was no majority opinion and her opinion “concurred in the judgment[] on the
narrowest grounds.” Marks v. United States, 430 U.S. 188, 193 (1977) (quoting Gregg v.
Georgia, 428 U.S. 153, 169 n.15 (1976)); see also United States v. Browne, 698 F.3d 1042, 1045
(8th Cir. 2012) (“It is Justice Sotomayor’s concurring opinion in Freeman that is controlling and
represents the holding of the Court.”).



                                              -4-
      CASE 0:12-cr-00026-JRT-JSM         Doc. 1776      Filed 09/13/17   Page 5 of 9




applicable Guidelines and that Heaton is eligible for reduction of his term of

imprisonment under 18 U.S.C. § 3582(c)(2).


II.    AMENDED GUIDELINES RANGE AND U.S.S.G. § 5G1.3 ADJUSTMENT

       Section 3582(c)(2) provides for sentence reductions “consistent with applicable

policy statements issued by the Sentencing Commission.”             The policy statement

applicable to reductions under § 3582(c)(2) is found in U.S.S.G. § 1B1.10. That policy

statement directs the court to “determine the amended guideline range that would have

been applicable” if the amendment had been in effect and “leave all other guideline

application decisions unaffected.” U.S.S.G. § 1B1.10(b)(1). The policy statement also

states “the court shall not reduce the defendant’s term of imprisonment under

[§] 3582(c)(2) . . . to a term that is less than the minimum of the amended guideline range

determined under subdivision (1) of this subsection,” unless the court previously imposed

a term less than the Guidelines range “pursuant to a government motion to reflect the

defendant’s   substantial   assistance   to   authorities.”   Id.   § 1B1.10(b)(2)(A)-(B).

Accordingly, in many cases, the Court may not reimpose a downward departure or

variance to below the amended Guidelines range when considering a § 3582(c)(2)

sentence reduction, even if it had done so at the initial sentencing. See, e.g., United

States v. Grant, No. 12-4107, 2014 WL 6792766, at *2 (N.D. Iowa Dec. 2, 2014)

(“Because the court imposed a term of imprisonment outside the guideline range

applicable to the defendant at the time of sentencing as a result of a downward variance,

the court is unable to reduce the defendant’s sentence.”).



                                              -5-
      CASE 0:12-cr-00026-JRT-JSM        Doc. 1776     Filed 09/13/17    Page 6 of 9




      The government argues that, applying § 1B1.10 of the Guidelines, the Court may

not impose a sentence less than 110 months – the minimum of the amended Guidelines

range, without taking into considering the 18-month adjustment Heaton received for his

undischarged state term under § 5G1.3. However, at least one circuit court has found that

courts must apply a § 5G1.3 adjustment when reducing a sentence under § 3582(c)(2).

See United States v. Gonzalez-Murillo, 852 F.3d 1329, 1337 (11th Cir. 2017). In that

case, the Eleventh Circuit found an adjustment under § 5G1.3(b)(1) of the Guidelines was

not a departure or a variance and that its mandatory nature and placement within the

Guidelines suggested that it formed part of the defendant’s Guidelines range. Id. at 1336-

39.

      Additionally, Eighth Circuit precedent supports the idea that an adjustment under

§ 5G1.3 is considered part of the Guidelines range, and thus it must be considered during

a sentence reduction under § 3582(c)(2). In United States v. Carter, the district court

found a Guidelines range of 84 to 105 months prior to consideration of a mandatory 24-

month adjustment under § 5G1.3(b)(1).       652 F.3d 894, 896 (8th Cir. 2011).        But,

considering the defendant’s extensive criminal history, the district court sentenced the

defendant to 105 months, even after recognizing that § 5G1.3(b)(1) applied. Id. The

defendant appealed, arguing that the court erred by failing to apply the mandatory

adjustment under § 5G1.3(b)(1). Id. The Eighth Circuit affirmed, finding that the record

showed the district court took the mandatory § 5G1.3(b) adjustment into account, but

then varied upwards (due to the defendant’s criminal history) to the top of the sentencing

range prior to the adjustment. Id. at 896-97. Because the Eighth Circuit described the


                                           -6-
      CASE 0:12-cr-00026-JRT-JSM           Doc. 1776      Filed 09/13/17     Page 7 of 9




105-month sentence as a “variance from the [G]uidelines,” when the pre-adjustment

Guidelines range was 84 to 105 months, it must have considered the Guidelines range to

include the mandatory § 5G1.3(b)(1) adjustment. Id.; cf. United States v. Tolliver, 570

F.3d 1062, 1066 (8th Cir. 2009) (noting that a departure occurs when the court departs

from the Guidelines range, not to the Guidelines range). Accordingly, the Court finds

that a mandatory adjustment under § 5G1.3(b)(1) is not a variance or departure; instead, it

forms part of a defendant’s Guidelines range, and the Court must consider it upon a

motion for a sentence reduction under § 3582(c). 3

       All records indicate that the Court credited Heaton for 18 months based on his

undischarged state term under § 5G1.3(b), and thus, Heaton will receive that adjustment

once again as part of determining his amended Guidelines range. But, the Court also

granted Heaton a three-month variance based on his loss of good time, which would fall

outside of the mandatory § 5G1.3(b) adjustment. Although the Court may consider the

reasons for that variance in determining the proper sentence for Heaton after determining

the applicable Guidelines range, the variance does not factor into the range within which

the Court may sentence Heaton pursuant to § 3582(c)(2). The Court may therefore




       3
         The Court acknowledges that this holding conflicts with dicta in a recent Eighth Circuit
decision, United States v. White, 859 F.3d 569 (8th Cir. 2017). In that decision, the Eighth
Circuit addressed whether a court could reimpose a departure under U.S.S.G. § 5K2.23 during a
§ 3582(c) sentence reduction and held only “that the court cannot reduce a defendant’s term
below the amended [G]uidelines range based on a downward departure for reasons other than
substantial assistance.” Id. at 572. The court went on to state that it would reach the same
decision with regard to a § 5G1.3(b) reduction, id.; however, this discussion of § 5G1.3(b) was
not necessary to the court’s holding.



                                              -7-
       CASE 0:12-cr-00026-JRT-JSM          Doc. 1776     Filed 09/13/17     Page 8 of 9




sentence Heaton anywhere within the amended Guidelines range after factoring in the

§ 5G1.3 adjustment, which the Court finds to be 92 months to 119 months. 4


III.   STATUTORY SENTENCING FACTORS

       Having determined that Heaton is eligible for a sentence reduction and the

applicable Guidelines range, the Court must next examine the factors contained in 18

U.S.C. § 3553(a). See § 3582(c)(2) (“[T]he court may reduce the term of imprisonment,

after considering the factors set forth in section 3553(a) to the extent that they are

applicable.”) The Court considers all of the statutory sentencing factors in reaching its

decision. Among these, the Court finds paragraph “(3) the kinds of sentences available,”

paragraph “(6) the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct” to be particularly

relevant. New defendants who commit the same crimes as Heaton will be sentenced

based on the amended Guidelines, and therefore, it is appropriate to adjust Heaton’s

sentence to avoid the “unwarranted disparities” in sentencing that would result absent a

sentence reduction. Furthermore, by reducing the offense level of Heaton’s crime, the

Sentencing Commission has shown a clear policy indicating that it is appropriate to

subject defendants like Heaton to less severe sentences than those the Guidelines used to

mandate. See § 3553(a)(5).

       4
         This is based on a new base offense level of 24, U.S.S.G. § 2D1.1(c)(8), a 2-level
increase for possession of a firearm, § 2D1.1(b)(1), a 3-level increase for aggravated role,
§ 3B1.1(b), a 3-level reduction for acceptance of responsibility, § 3E1.1, resulting in a total
offense level of 26. With Heaton’s criminal history category of V, Heaton’s new initial
Guidelines range is 110 to 137 months. Thus, after factoring Heaton’s 18-month adjustment
under § 5G1.3(b)(1), the Court may sentence Heaton within the range of 92 to 119 months.


                                             -8-
      CASE 0:12-cr-00026-JRT-JSM        Doc. 1776    Filed 09/13/17   Page 9 of 9




       In sum, because Heaton’s plea agreement is based on the amended Guidelines, he

is eligible for a sentence reduction under § 3582(c)(2). The Court will grant Heaton’s

motion to reduce his sentence. And, considering all statutory sentencing factors, the

Court will reduce Heaton’s sentence proportionately to six months higher than the bottom

of his amended Guidelines range, resulting in a term of 98 months’ imprisonment.


                                       ORDER

       Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that Heaton’s Motion to Reduce Sentence [Docket No. 1641] is

GRANTED. Heaton’s sentence of imprisonment is reduced from a total term of 115

months to a total term of 98 months.

       IT IS FURTHER ORDERED that all other terms and conditions of the Amended

Judgment in a Criminal Case [Docket No. 1374], dated April 29, 2014, will remain in full

force and effect.

       LET JUDGMENT BE ENTERED ACCORDINGLY.

DATED: September 13, 2017                __________s/John R. Tunheim___________
at Minneapolis, Minnesota.                        JOHN R. TUNHEIM
                                                        Chief Judge
                                                 United States District Court




                                          -9-
